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 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,            ) Case No.: 1:13-CR-00136-AWI
                                          )
11              Plaintiff,                )
                                          )
12        vs.                             ) STIPULATION AND ORDER
                                          ) PERMITTING DEFENDANT TO
13                                        ) TRAVEL TO THE CENTRAL
                                          ) DISTRICT OF CALIFORNIA
14                                        )
     SARITH CHIM,                         )
15                                        )
                Defendant.                )
16                                        )
17

18        On April 22, 2013, defendant Sarith Chim made his initial
19   appearance before this Court on an indictment filed in the
20   Eastern District of California charging him with conspiracy to
21   manufacture, distribute, and possess with intent to distribute
22   a controlled substance, structuring conspiracy, and
23   structuring.     Mr. Chim was released on a Property Bond in
24   September 2013 and in the custody of a third party, Ms. Sarong
25   Chao, under conditions set by this Court. Two such conditions
26   are that the Defendant may not travel outside of Tulare, Kern,
27   Kings, Fresno, and Madera Counties without the Court’s
28   permission and is participating in Home Detention with GPS
                                           - 1 -
     Stipulation and [Proposed] Order to Travel to the Central District of California
                               CASE NO.: 1:13-CR-00136-AWI
      Case 1:13-cr-00136-DAD-BAM Document 177 Filed 11/27/13 Page 2 of 3


 1   tracking.
 2        Mr. Chim wishes to travel by car to Long Beach with his
 3   custodian, Sarong Chao, to pick-up his step-son at his
 4   mother’s residence.
 5        The City of Long Beach is in the Central District of
 6   California and is outside the travel restrictions under Mr.
 7   Chim’s current conditions of release. United States Pretrial
 8   Services Officer Monty Olson has advised defense counsel that
 9   he does not object to a modification of Mr. Chim’s release
10   conditions to permit him to travel to and from the Central
11   District of California provided that he first obtain
12   permission from the Court and complies with any restrictions
13   that Pretrial Services may impose on such travel.
14        Accordingly, the parties agree and stipulate that Mr.
15   Chim’s conditions of release should be modified as follows:
16   Mr. Chim shall be permitted to travel by car to and from the
17   Central District of California, at approximately 6:00 p.m. on
18   Saturday, November 30, 2013, and returning by 12:00 p.m. on
19   Monday, December 2, 2013, with the advance permission of, and
20   as directed by, Pretrial Services.
21        IT IS SO STIPULATED.
22
     Dated: November 26, 2013                 /s/ Grant Rabenn __
23
                                              Assistant United States
24
                                              Attorney

25
     Dated: November 26, 2013                 /s/ Anthony P. Capozzi
26
                                              Anthony P. Capozzi
27
                                              Attorney for
                                              SARITH CHIM
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                                           - 2 -
     Stipulation and [Proposed] Order to Travel to the Central District of California
                               CASE NO.: 1:13-CR-00136-AWI
       Case 1:13-cr-00136-DAD-BAM Document 177 Filed 11/27/13 Page 3 of 3


 1                                       ORDER
 2

 3         For reasons set forth above, the Defendant’s conditions
 4   of pretrial release shall be modified as follows: The
 5   Defendant shall be permitted to travel by car to and from the
 6   Central District of California, at approximately 6:00 p.m. on
 7   Saturday, November 30, 2013, and returning at approximately
 8   12:00 p.m. on Monday, December 2, 2013, with the advance
 9   permission of, and as directed by, Pretrial Services. All
10   other conditions shall remain in effect.
11
     IT IS SO ORDERED.
12

13   Dated: November 27, 2013
                                       SENIOR DISTRICT JUDGE
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     Stipulation and [Proposed] Order to Travel to the Central District of California
                               CASE NO.: 1:13-CR-00136-AWI
